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         By:     Kelly G. Black, No. 016376
    7
                                   UNITED STATES BANKRUPTCY COURT
    8
                                            DISTRICT OF ARIZONA
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   10 ~ In Re:                                                o. 2:11-BK-19813-GBN
   11    Royan, Inc.                                            ~lication for Appointment of Accountant
                                                                Debtor-in-Possession Effective as of the
   12                  Debtor.                                  ~lication Date Pursuant to Rule 2014
   13'                                                                 to: Honorable George B. Nielsen, Jr.
   14            Pursuant to section 327(a) of the Bankruptcy Code, and Rule 2014(a) of the Federal
   15    Rules of Bankruptcy Procedure, Royan, Inc. the Debtor herein, hereby applies for authority to
   16    employ Clark Fox and the accounting firm of Fox Peterson, LLC("Accountant"), as accountant
   17 for the Debtor under a retainer for services rendered and to be rendered during the pendency of

   18    this Chapter 11 proceeding. In support of this application, the Debtor alleges as follows:
  19             1.     Debtor has filed with this Court a voluntary petition for relief under Chapter 11 of
  20 the Bankruptcy Code (the "Code"). Pursuant to sections 1107 and 1 108 of the Code, the Debtor

  21     is conducting its affairs as debtor-in-possession.
  22             2.     Debtor desires to retain Accountant to assist in the preparation of operating and
  23     other financial reports, and in the provision of accounting and financial advice.
  24             3.     To the best ofthe Debtor's knowledge, Accountant and all of the accountants
  25     associated at the Fox Peterson, LLC are "disinterested persons" as that term is defined in section
  26     101(14) of the Code, and neither Accountant nor any ofthe accountants at Fox Peterson, LLC
  27     hold any interest materially adverse to the estate. To the best of Debtor's knowledge, Fox
  28     Peterson, LLC and its accountants have no connections with the Debtors, creditors, other parties
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    1    in interest, their respective attorneys and accountants, the United States trustee, or any person

   2' employed in the office of the United States trustee, except as follows:

   3                      a.     Accountant has provided accounting services to Debtor

   4'                     b.     Accountant has prepared, and will continue to prepare, income taxes for

    Si           the Nassirians, who are the members of Debtor. Accountant has stated that the accounting

   6             services to the Nassirians will not interfere with Accountant's duties to the Debtor.

   7                      c.     Accountant provided Debtor with prepetition services which were not

   8             fully paid prepetition. With respect to these prepetition accounting services, Accountant

   9             has agreed to waive unpaid fees and costs so Accountant is not a creditor of the Debtor

  10             and has no direct or indirect relationship to, or connection with, or interest in the Debtor.

   11            4.       Except as may be stated above, Accountant does not hold or represent any

  12     interest adverse to the estate of the Debtor and is a "disinterested person" as that term is defined

  13     in section 101(14) of the Bankruptcy Code.

  14             5.       Debtor believes that the employment of Accountant would be in the best interest

  15     of the estate.

  16             6.       Subject to this Court's jurisdiction with respect to professional fees, the Debtor

  17     has agreed to compensate Accountant for its services as follows: $300 per month. The Debtor

  18     has also agreed to reimburse Accountant in full for its cash disbursements and for such expenses

  19     as Accountant customarily bills to its clients. The Debtor has agreed to pay Accountant promptly

  20     upon allowance by the Court after appropriate application and notice.

  21             7.       Debtor is informed that the professional fees described in the last paragraph are

  22     reasonable and comparable to rates charged by other accountants in the Phoenix metropolitan

  23     area with Accountant's background and experience.

  24             8.       Accountant has agreed not to share with any person or firm the compensation to

  25     be paid for services rendered in connection with this case.

  26            9.        No trustee, examiner or creditors' committee has been appointed in this case.

  27             WHEREFORE,Debtor prays for an order appointing Clark I'ox and the accounting firm

  28     of Fox Peterson, LLC as accountant for the Debtor, to render the services described above with
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    1   compensation to be paid, at the rates and on the terms described above, as an administrative

    2 expense in such amounts as this Court may hereafter determine and allow upon application to be

    3 filed by said attorneys.    i~
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              DATED this ~~ ~~y of January, 2012.
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                                                        Jack`"son White, P.C.
    7                                                   By: Kelly G. Black, Nn. 016376

    8   COPY ofthe foregoing mailed this ~%'/~z,~~~
        day of January, 2012 to:
    9
      Office of the U.S. Trustee
   10 230 N. First Avenue, Ste. 204
      Phoenix, AZ 85003-1706
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